            Case 1:20-cv-10496 Document 1 Filed 12/11/20 Page 1 of 13




                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


 GEORGE C. FENG AND TOM FENG,                     Case No.:

                        Plaintiffs,
       v.                                         JURY TRIAL DEMANDED

 THE GOLDFIELD CORPORATION,
 DAVID P. BICKS, HARVEY C. EADS, JR.,             COMPLAINT FOR VIOLATIONS OF
 JOHN P. FAZZINI, DANFORTH E.                     FEDERAL SECURITIES LAWS
 LEITNER, and STEPHEN L. APPEL

                        Defendants.


       George C. Feng and Tom Feng (“Plaintiffs”), by and through their attorneys, allege the

following upon information and belief, including investigation of counsel and review of

publicly-available information, except as to those allegations pertaining to Plaintiffs, which are

alleged upon personal knowledge:

                                       BACKGROUND

       1.      This action concerns a proposed transaction announced on November 24, 2020

pursuant to which The Goldfield Corp. (“Goldfield or the “Company”) will be acquired by First

Reserve XIV Advisors, L.L.C. (“First Reserve”).

       2.      On November 24, 2020, Goldfield’s Board of Directors (the “Board” or

“Individual Defendants”) caused the Company to enter into an agreement and plan of merger (the

“Merger Agreement”), pursuant to which First Reserve commenced a tender offer to purchase all

of Goldfield’s outstanding common stock for $7.00 per share in cash (the “Tender Offer”)

       3.      On December 1, 2020, in order to convince Goldfield’s stockholders to tender

their shares, defendants authorized the filing of a materially incomplete and misleading Schedule

14D-9 Solicitation/Recommendation Statement (the “Solicitation Statement”) with the United
             Case 1:20-cv-10496 Document 1 Filed 12/11/20 Page 2 of 13




States Securities and Exchange Commission (“SEC”).

       4.      The Solicitation Statement omits material information with respect to the Tender

Offer, which renders the Solicitation Statement false and misleading.        Accordingly, Plaintiffs

alleges herein that defendants violated Sections 14(d), 14(e), and 20(a) of the Securities

Exchange Act of 1934 (the “1934 Act”) in connection with the Solicitation Statement.

       5.      In addition, the Tender Offer is scheduled to expire one-minute following

11:59 p.m., Eastern Time, on December 29, 2020 (the “Expiration Time”). It is imperative that

the material information that has been omitted from the Solicitation Statement is disclosed to the

Company’s stockholders prior to the Expiration Time so they can properly determine whether to

tender their shares.

                                 JURISDICTION AND VENUE

       6.      This Court has subject matter jurisdiction pursuant to Section 27 of the Exchange

Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1331 (federal question jurisdiction) as Plaintiffs allege

violations of Sections 14(e), 14(d), and 20(a) of the Exchange Act and SEC Rule 14a-9.

       7.      Personal jurisdiction exists over each Defendant either because each is an

individual who is either present in this District for jurisdictional purposes or has sufficient

minimum contacts with this District as to render the exercise of jurisdiction over defendant by this

Court permissible under traditional notions of fair play and substantial justice.

       8.      Venue is proper in this District under Section 27 of the Exchange Act, 15 U.S.C.

§ 78aa, as well as under 28 U.S.C. § 1391, because, among other things: (a) the conduct at issue

will have an effect in this District; (b) a substantial portion of the transactions and wrongs

complained of herein, occurred in this District; and (c) certain Defendants have received

substantial compensation in this District by doing business here and engaging in numerous




                                                 2
              Case 1:20-cv-10496 Document 1 Filed 12/11/20 Page 3 of 13




activities that had an effect in this District. Additionally, the Company’s common stock trades

on the NYSE, which is headquartered in this District.

                                            PARTIES

        9.     Plaintiffs are, and have been at all relevant times, owners of Goldfield common

stock and have held such stock since prior to the wrongs complained of herein.

        10.    Defendant Goldfield is incorporated in Delaware and maintains its principal offices

at 1684 W. Hibiscus Boulevard, Melbourne, Florida 32901. The Company’s common stock trades

on the New York Exchange under the symbol “GV.”

        11.    Defendant David P. Bicks has served as a member of the Board since 2012.

        12.    Defendant Harvey C. Eads, Jr. has served as a member of the Board since 1999.

        13.    Defendant John P. Fazzini has served as a member of the Board since 1984.

        14.    Defendant Danforth E. Leitner has served as a member of the Board and since

1985.

        15.    Defendant Stephen L. Appel has served as a member of the Board and since 2017.

                                             FACTS

        16.    Goldfield, together with its subsidiaries, provides electrical infrastructure

construction services primarily to electric utilities and industrial customers in Southeast and mid-

Atlantic regions of the United States and Texas. It also offers electrical contracting services,

including the construction of transmission lines, distribution systems, drilled pier foundations,

substations, and other electrical services. In addition, the Company is involved in the acquisition,

development, management, and disposition of detached single-family homes, townhomes, and

condominiums in Brevard County, Florida. Goldfield was founded in 1906 and is based in

Melbourne, Florida.




                                                 3
      Case 1:20-cv-10496 Document 1 Filed 12/11/20 Page 4 of 13




17.    On November 24, 2020, the Company announced the Proposed Transaction:

MELBOURNE, Fla. and STAMFORD, Conn., Nov. 24, 2020
(GLOBE NEWSWIRE) -- The Goldfield Corporation (“Goldfield” or the
“Company”) (NYSE American: GV), a leading provider of electrical transmission
and distribution maintenance services for utility and industrial customers, today
announced it has entered into a definitive merger agreement under which an
affiliate of First Reserve has agreed to acquire all outstanding shares of Goldfield
for
$7.00 per share in cash, pursuant to a cash tender offer. This represents a 64%
premium to Goldfield’s closing stock price on November 23, 2020 and a 57%
premium to the 30-day volume- weighted average price of $4.46 as of the same
date. The transaction, which was unanimously approved by Goldfield’s Board of
Directors, implies a total enterprise value for Goldfield of approximately $194
million, including net debt, and is not subject to any financing contingency.

Commenting on the agreement, Goldfield’s Board of Directors stated, “We fully
support this transaction and are excited about the long-term opportunities this
presents for the future of Goldfield and the immediate value it provides for our
shareholders. First Reserve has a highly successful track record of working with
services companies that operate in the utility sector to drive sustainable growth,
and we are confident they will be a great partner for our customers and employees
as they move forward together.”

Jeff Quake, Managing Director at First Reserve, commented, “This investment
highlights First Reserve’s continued commitment to building leading platforms
which play a crucial role in maintaining and enhancing mission-critical
infrastructure. As the domestic power generation mix continues to diversify,
including the transition to increasingly adopt sustainable sources of electricity
such as renewables, we believe Goldfield is well positioned to participate in these
long-term trends driven by increased focus on ESG, reliability and asset integrity.”

Transaction Details

The transaction will be completed through a cash tender offer for all of the
outstanding common shares of Goldfield for $7.00 cash per share, followed by a
merger in which the remaining common shares of Goldfield will be converted into
the right to receive the same cash price per share paid in the tender offer.
Goldfield’s Board of Directors will unanimously recommend that all shareholders
tender their shares in the offer. The transaction is conditioned upon satisfaction of
the minimum tender condition, which requires that shares representing more than
50% of Goldfield’s outstanding shares be tendered, as well as other customary
closing conditions, including expiration of the applicable waiting period under the
Hart- Scott-Rodino Antitrust Improvements Act of 1976. The estate of
Goldfield’s former CEO John Sottile, which has beneficial ownership and control
over approximately 8.5% of the shares outstanding, has agreed to tender those




                                         4
             Case 1:20-cv-10496 Document 1 Filed 12/11/20 Page 5 of 13




       shares into the offer. The transaction is expected to close by January 2021.

       The merger agreement will be attached as an exhibit to the Company’s report on
       Form 8-K to be filed with the U.S. Securities and Exchange Commission (the
       “SEC”), and is also available on the Company’s website at
       http://www.goldfieldcorp.com.

       Stifel is serving as financial advisor and K&L Gates LLP is serving as legal
       advisor to Goldfield. Simpson Thacher & Bartlett LLP is serving as legal advisor
       to First Reserve.


                                              ***

       18.     The Offer Price is unfair because, among other things, the intrinsic value of the

Company is in excess of the amount the Company’s stockholders will receive in connection with

the Tender Offer.

       19.     It is therefore imperative that the Company’s common stockholders receive the

material information that defendants have omitted from the Solicitation Statement so that they

can meaningfully assess whether to tender their shares.

       20.     Section 6.2 of the Merger Agreement provides for a no solicitation clause that

prevents Goldfield from soliciting alternative proposals and constraints its ability to negotiate

with potential buyers:

       Section 6.2       Acquisition Proposals; Change in Recommendation.

            (a)Except as permitted by this Section 6.2, during the Pre-Closing Period, the
       Acquired Companies and their respective directors and officers shall not, and
       shall not authorize their other Representatives to, and shall direct and cause them
       not to (i) initiate, solicit, propose, knowingly induce or knowingly encourage or
       knowingly facilitate (including by providing any information) any Acquisition
       Proposal, including any inquiries or the submission of any proposals or offers
       which could reasonably be expected to lead to an Acquisition Proposal, (ii) other
       than informing Third Parties of the existence of the provisions contained in
       this Section 6.2, engage in, continue or otherwise participate in negotiations or
       discussions with, or provide access to its properties, books and records or furnish
       any non-public information (or access thereto) concerning the Company or any of
       the Company Subsidiaries to, any Third Party in connection with, relating to or




                                                5
             Case 1:20-cv-10496 Document 1 Filed 12/11/20 Page 6 of 13




       for the purpose of encouraging or facilitating or that could reasonably be expected
       to lead to,an Acquisition Proposal, (iii) recommend, enter into or execute any
       Contract, letter of intent, acquisition agreement, agreement in principle,
       memorandum of understanding or similar agreement with respect to any
       Acquisition Proposal, (iv) approve, endorse or recommend, or propose publicly to
       approve, endorse or recommend any Acquisition Proposal, (v) waive, terminate,
       modify or fail to enforce any “standstill” or similar provision or obligation of a
       Person (other than Parent or its Affiliates) with respect to the Company or its
       Subsidiaries or (vi) approve, authorize or agree to do any of the foregoing.
       Immediately following the execution of this Agreement, the Acquired Companies
       and their respective directors and officers shall, and shall direct and cause their
       respective Representatives to, (A) cease and cause to be terminated any
       solicitation and any and all existing discussions or negotiations with any Person
       conducted heretofore with respect to any Acquisition Proposal or any inquiry or
       request for information that could reasonably be expected to lead to, or result in,
       an Acquisition Proposal, (B) terminate access by any Third Party to any physical
       or electronic data room relating to any potential Acquisition Proposal and
       (C) deliver written notice to each such Person requesting that any such Person
       (other than Parent, Merger Sub and their respective Representatives) promptly
       return or destroy all confidential information regarding the Company and its
       Subsidiaries. Notwithstanding clause (v), the Company shall be permitted to grant
       limited waivers of, and not enforce, any standstill provision or similar provision
       that has the effect of prohibiting the counterparty thereto from making an
       Acquisition Proposal to the Company Board to the extent that the Company Board
       determines in good faith, after consultation with outside counsel, that the failure
       to grant such limited waiver or to not enforce such provision would be
       inconsistent with Company Board’s fiduciary duties under Applicable Law.

       21.     In addition, Section 9.4(b) of the Merger Agreement requires Goldfield to pay a

$5,654,000.00 “termination fee” in the event this agreement is validly terminated by Goldfield

and improperly constrains the Company from obtaining a superior offer.

       22.     It is therefore imperative that Goldfield’s stockholders are provided with the

material information that has been omitted from the Solicitation Statement, so that they can

meaningfully assess whether or not the Proposed Transaction is in their best interests.

       23.     Defendants filed the Solicitation Statement with the SEC in connection with the

Tender Offer. As alleged herein, the Solicitation Statement omits material information, which

renders the Solicitation Statement false and misleading.

       24.     First, the Solicitation Statement omits material information regarding Goldfield’s




                                                 6
             Case 1:20-cv-10496 Document 1 Filed 12/11/20 Page 7 of 13




financial projections.

       25.      With respect to Goldfield’s financial projections, the Solicitation Statement

provides values for non-GAAP (Generally Accepted Accounting Principles) financial metrics: (a)

PCA EBITDA and (b) Adj. Cash Earnings Before Tax (for Bayswater), but fails to disclose: (i) the

line items used to calculate the non-GAAP measures; or (ii) a reconciliation of these non-GAAP

metrics to their most comparable GAAP measures.

       26.      The disclosure of projected financial information is material information

necessary for Goldfield stockholders to gain an understanding of the basis for any projections as

to the future financial performance of the company. In addition, this information is material and

necessary for stockholders to understand the financial analyses performed by the Company’s

financial advisors rendered in support of any fairness opinion.

       27.      Second, the Solicitation Statement omits material information regarding the

analysis performed by the Company’s financial advisor Stifel, Nicolaus & Company,

Incorporated (“Stifel”) in connection with the Tender Offer.

       28.      With respect to Stifel’s Selected Comparable Public Company Analysis, the

Solicitation Statement fails to disclose the individual metrics and multiples for the individual

companies observed in the analysis. This information must be disclosed to make the Solicitation

Statement not materially misleading to Goldfield stockholders and provide stockholders with full

and relevant information in considering whether to tender their shares.

       29.      With respect to Stifel’s Selected Precedent Transactions Analysis, the Solicitation

Statement fails to disclose the individual metrics and multiples for the transactions observed in

the analysis.   This information must be disclosed to make the Solicitation Statement not

materially misleading to Goldfield stockholders and provide stockholders with full and relevant




                                                 7
             Case 1:20-cv-10496 Document 1 Filed 12/11/20 Page 8 of 13




information in considering whether to tender their shares.

       30.     With respect to Stifel’s Discounted Cash Flow Analysis, the Solicitation Statement

fails to disclose: (i) the basis for applying a discount rate of 14.5% to calculate the projected

unlevered free cash flow for October 2020 through fiscal year 2024; (ii) the basis for applying a

range of discount rates from 12.5% to 14.5% to calculate the present values of the unlevered cash

flows and terminal values; (iii) the terminal value of the Company; (iv) the basis for applying a

range of perpetual growth rates of 2.5% to 3.5%; and (v) the Company’s unlevered cash flows

used in the analysis. This information must be disclosed to make the Solicitation Statement not

materially misleading to Goldfield stockholders and provide stockholders with full and relevant

information in considering whether to tender their shares.

       31.     With respect to Stifel’s Bayswater NPV Analysis, the Solicitation Statement fails to

disclose the basis for applying a discount rate of 14.5% to calculate the projected unlevered free

cash flow for October 2020 through fiscal year 2022. This information must be disclosed to

make the Solicitation Statement not materially misleading to Goldfield stockholders and provide

stockholders with full and relevant information in considering whether to tender their shares.

       32.     The omission of the above-referenced material information renders the Solicitation

Statement false and misleading.

       33.     The above-referenced omitted information, if disclosed, would significantly alter

the total mix of information available to the Company’s stockholders.

                                    CLAIMS FOR RELIEF

                                           COUNT I

   (AGAINST ALL DEFENDANTS FOR VIOLATIONS OF SECTION 14(e) OF THE
                         EXCHANGE ACT)

       34.     Plaintiffs incorporate each and every allegation set forth above as if fully set




                                                8
                Case 1:20-cv-10496 Document 1 Filed 12/11/20 Page 9 of 13




forth herein.

       35.       Section 14(e) of the 1934 Act states, in relevant part, that:

       It shall be unlawful for any person to make any untrue statement of a material fact
       or omit to state any material fact necessary in order to make the statements made,
       in the light of the circumstances under which they are made, not misleading . . . in
       connection with any tender offer or request or invitation for tenders[.]

       36.       Defendants disseminated the misleading Solicitation Statement, which contained

statements that, in violation of Section 14(e) of the 1934 Act, in light of the circumstances

under which they were made, omitted to state material facts necessary to make the statements

therein not misleading.

       37.       The Solicitation Statement was prepared, reviewed, and/or disseminated by

defendants.

       38.       The Solicitation Statement misrepresented and/or omitted material facts in

connection with the Tender Offer as set forth above.

       39.       By virtue of their positions within the Company and/or roles in the process and

the preparation of the Solicitation Statement, defendants were aware of this information and

their duty to disclose this information in the Solicitation Statement.

       40.       The omissions in the Solicitation Statement are material in that a reasonable

shareholder will consider them important in deciding whether to tender their shares in

connection with the Tender Offer. In addition, a reasonable investor will view a full and

accurate disclosure as significantly altering the total mix of information made available.

       41.       Defendants knowingly or with deliberate recklessness omitted the material

information identified above in the Solicitation Statement, causing statements therein to be

materially incomplete and misleading.

       42.       By reason of the foregoing, defendants violated Section 14(e) of the 1934 Act.




                                                   9
              Case 1:20-cv-10496 Document 1 Filed 12/11/20 Page 10 of 13




       43.      Because of the false and misleading statements in the Solicitation Statement,

plaintiffs are threatened with irreparable harm.

       44.      Plaintiffs have no adequate remedy at law.

                                             COUNT II

   (AGAINST ALL DEFENDANTS FOR VIOLATIONS OF SECTION 14(d) OF THE
      EXCHANGE ACT AND RULE 14d-9 PROMULGATED THEREUNDER)

       45.      Plaintiffs incorporate each and every allegation set forth above as if fully set

forth herein.

       46.      Section 14(d)(4) of the 1934 Act states:

       Any solicitation or recommendation to the holders of such a security to accept or
       reject a tender offer or request or invitation for tenders shall be made in
       accordance with such rules and regulations as the Commission may prescribe as
       necessary or appropriate in the public interest or for the protection of investors.

       47.      Rule 14d-9(d) states, in relevant part:

       Any solicitation or recommendation to holders of a class of securities referred to
       in section 14(d)(1) of the Act with respect to a tender offer for such securities
       shall include the name of the person making such solicitation or recommendation
       and the information required by Items 1 through 8 of Schedule 14D-9 (§ 240.14d-
       101) or a fair and adequate summary thereof[.]

Item 8 requires that directors must “furnish such additional information, if any, as may be

necessary to make the required statements, in light of the circumstances under which they are

made, not materially misleading.”

       48.      The Solicitation Statement violates Section 14(d)(4) and Rule 14d-9 because it

omits the material facts set forth above, which renders the Solicitation Statement false and/or

misleading.




                                                   10
                Case 1:20-cv-10496 Document 1 Filed 12/11/20 Page 11 of 13




          49.     Defendants knowingly or with deliberate recklessness omitted the material

information set forth above, causing statements therein to be materially incomplete and

misleading.

          50.     The omissions in the Solicitation Statement are material to plaintiffs, and who

will be deprived of their right to make a fully informed decision with respect to the Tender Offer

if such misrepresentations and omissions are not corrected prior to the expiration of the Tender

Offer.

                                              COUNT III

          (AGAINST THE INDIVIDUAL DEFENDANTS FOR VIOLATIONS OF
                    SECTION 20(a) OF THE EXCHANGE ACT)

          51.     Plaintiffs incorporate each and every allegation set forth above as if fully set forth

herein.

          52.     The Individual Defendants acted as controlling persons of the Company within

the meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions

as directors of the Company, and participation in and/or awareness of the Company’s

operations and/or intimate knowledge of the incomplete and misleading statements contained in

the Solicitation filed with the SEC, they had the power to influence and control and did

influence and control, directly or indirectly, the decision making of the Company, including the

content and dissemination of the various statements that Plaintiffs contend are materially

incomplete and misleading.

          53.     Each of the Individual Defendants was provided with or had unlimited access to

copies of the Solicitation Statement and other statements alleged by Plaintiffs to be misleading

prior to and/or shortly after these statements were issued and had the ability to prevent the

issuance of the statements or cause the statements to be corrected.




                                                    11
             Case 1:20-cv-10496 Document 1 Filed 12/11/20 Page 12 of 13




       54.     In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company, and, therefore, is presumed to have

had the power to control or influence the particular transactions giving rise to the Exchange Act

violations alleged herein, and exercised the same. The omitted information identified above was

reviewed by the Board prior to voting on the Tender Offer. The Solicitation Statement at issue

contains the unanimous recommendation of the Board to approve the Tender Offer. The

Individual Defendants were thus directly involved in the making of the Solicitation Statement.

       55.     In addition, as the Solicitation sets forth at length, and as described herein, the

Individual Defendants were involved in negotiating, reviewing, and approving the Merger

Agreement. The Solicitation purports to describe the various issues and information that the

Individual Defendants reviewed and considered. The Individual Defendants participated in

drafting and/or gave their input on the content of those descriptions.

       56.     By virtue of the foregoing, the Individual Defendants have violated Section

20(a) of the Exchange Act.

       57.     As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(e) and 14(d) and

Rule 14d-9, by their acts and omissions as alleged herein. By virtue of their positions as

controlling persons, these defendants are liable pursuant to Section 20(a) of the Exchange Act.

As a direct and proximate result of Individual Defendants’ conduct, Plaintiffs will be

irreparably harmed.

       58.     Plaintiffs have no adequate remedy at law.

                                    PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs prays for judgment and relief as follows:




                                                 12
             Case 1:20-cv-10496 Document 1 Filed 12/11/20 Page 13 of 13




        A.     Preliminarily and permanently enjoining defendants and all persons acting in

 concert with them from proceeding with, consummating, or closing the Tender Offer;

        B.     In the event defendants consummate the Tender Offer, rescinding it and setting it

 aside or awarding rescissory damages;

        C.     Directing the Individual Defendants to disseminate a Solicitation Statement that

 does not contain any untrue statements of material fact and that states all material facts required

 in it or necessary to make the statements contained therein not misleading;

        D.     Declaring that defendants violated Sections 14(e) and/or 20(d) of the 1934 Act,

 as well as Rule 14d-9 promulgated thereunder;

        E.     Awarding Plaintiffs the costs of this action, including reasonable allowance for

 Plaintiffs’ attorneys’ and experts’ fees; and

        F.      Granting such other and further relief as this Court may deem just and proper.

                                         JURY DEMAND

        Plaintiffs hereby request a trial by jury on all issues so triable.

Dated: December 11, 2020

                                                 MOORE KUEHN, PLLC

                                                 /s/Justin Kuehn
                                                 Justin A. Kuehn
                                                 Fletcher W. Moore
                                                 30 Wall Street, 8th floor
                                                 New York, New York 10005
                                                 Tel: (212) 709-8245
                                                 jkuehn@moorekuehn.com
                                                 fmoore@moorekuehn.com

                                                 Attorneys for Plaintiffs




                                                   13
